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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

VS                                                      CRIMINAL NO. 4:08CR115-SA-DAS

JENNIFER MCGEE


                                            ORDER

       BEFORE THE COURT is the motion of Thomas C. Levidiotis for leave to withdraw as

counsel for the above named defendant. For good cause shown, the Court is of the opinion that the

motion should be granted.

       THEREFORE, IT IS ORDERED that the instant motion is hereby GRANTED, and

Thomas C. Levidiotis is hereby relieved of all responsibility with respect to representing the

defendant, Jennifer McGee, herein.

       IT IS FURTHER ORDERED that David O. Bell, is hereby appointed as substitute counsel

for said defendant. .

       This, the 17th day of December, 2008.


                                                              /s/ David A. Sanders
                                                                 United States Magistrate Judge
